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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARCHESU MINOR                                :
    Plaintiff                                 :
                                              :
      v.                                      :      CIVIL ACTION NO. 20-CV-4364
                                              :
DISTRICT ATTORNEY, et al.,                    :
     Defendants                               :

                                         ORDER

      AND NOW, this 16th day of October, 2020, upon consideration of Plaintiff Marchesu

Minor’s Motion to Proceed In Forma Pauperis (ECF No. 4), pro se Complaint (ECF No. 1), and

“Motion for Investigation” (ECF No. 5) it is hereby ORDERED that:

      1.       Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

      2.       The Complaint is DEEMED filed.

      3.       The Complaint is DISMISSED, with prejudice, for the reasons in the Court’s

Memorandum.

      4.       The “Motion for Investigation” is DENIED.

      5.       The Clerk of Court shall CLOSE this case.



                                           BY THE COURT:


                                           /s/ Nitza I. Quiñones Alejandro
                                           NITZA I. QUIÑONES ALEJANDRO
                                           Judge, United States District Court
